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 The following constitutes the ruling of the court and has the force and effect therein described.




Signed October 19, 2021
______________________________________________________________________



BTXN 104b/105b (rev. 09/11)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
Highland Capital Management, L.P.                          §
                                                           §    Case No.: 19−34054−sgj11
                                        Debtor(s)          §    Chapter No.: 11
UBS Securities LLC et al.                                  §
                                        Plaintiff(s)       §    Adversary No.:    21−03020−sgj
      vs.                                                  §
Highland Capital Management, L.P.                          §
                                        Defendant(s)       §


                              ORDER FOR ADMISSION PRO HAC VICE
     The Court, having considered the Application for Admission Pro Hac Vice of Katherine R. Catanese, to
represent Sentinel Reinsurance Ltd., related to document 105, ORDERS this application be:

    Granted − The Clerk of the District Court for the Northern District of Texas shall deposit the application fee to
the account of the Non−Appropriated Fund.

    Denied − The Clerk of the District Court for the Northern District of Texas shall return the admission fee to the
applicant.

                                               # # # End of Order # # #
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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
UBS Securities LLC,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03020-sgj
Highland Capital Management, L.P.,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Oct 20, 2021                                               Form ID: pdf001                                                            Total Noticed: 3
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 22, 2021:
Recip ID                 Recipient Name and Address
aty                    + Jamie Wine, LATHAM & WATKINS LLP, 885 Third Ave., New York, NY 10022-4874
aty                    + Jeffrey E. Bjork, Latham & Watkins LLP, 355 S. Grand Ave., Ste. 100, Los Angeles, CA 90071-3104

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Oct 20 2021 21:02:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 22, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 20, 2021 at the address(es) listed
below:
Name                               Email Address
Andrew Clubok
                                   on behalf of Plaintiff UBS AG London Branch andrew.clubok@lw.com
                                   andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com

Andrew Clubok
                                   on behalf of Plaintiff UBS Securities LLC andrew.clubok@lw.com
                                   andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com
          Case 21-03020-sgj Doc 127 Filed 10/22/21                          Entered 10/22/21 23:18:41                     Page 3 of 3
District/off: 0539-3                                        User: admin                                                           Page 2 of 2
Date Rcvd: Oct 20, 2021                                     Form ID: pdf001                                                      Total Noticed: 3
Candice Marie Carson
                          on behalf of Plaintiff UBS Securities LLC Candice.Carson@butlersnow.com

Candice Marie Carson
                          on behalf of Plaintiff UBS AG London Branch Candice.Carson@butlersnow.com

Clay M. Taylor
                          on behalf of Interested Party James Dondero clay.taylor@bondsellis.com krista.hillman@bondsellis.com

Eric A. Soderlund
                          on behalf of Interested Party Former Employees eric.soderlund@judithwross.com

Frances Anne Smith
                          on behalf of Interested Party Former Employees frances.smith@judithwross.com michael.coulombe@judithwross.com

Juliana Hoffman
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Kimberly A. Posin
                          on behalf of Plaintiff UBS AG London Branch kim.posin@lw.com colleen.rico@lw.com

Kimberly A. Posin
                          on behalf of Plaintiff UBS Securities LLC kim.posin@lw.com colleen.rico@lw.com

Martin A. Sosland
                          on behalf of Plaintiff UBS Securities LLC martin.sosland@butlersnow.com
                          ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Martin A. Sosland
                          on behalf of Plaintiff UBS AG London Branch martin.sosland@butlersnow.com
                          ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Matthew A. Clemente
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors mclemente@sidley.com
                          matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                          ey@sidley.com

Melissa S. Hayward
                          on behalf of Defendant Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Paige Holden Montgomery
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                          ce@sidley.com

Thomas C. Scannell
                          on behalf of Interested Party Sentinel Reinsurance Ltd. tscannell@foley.com
                          acordero@foley.com;thomas-scannell-3441@ecf.pacerpro.com

Zachery Z. Annable
                          on behalf of Defendant Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 17
